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                                                             November 9, 2020
         By ECF                              GRANTED.
                                             The Court grants the 30 day extension to deadlines as proposed. The Pretrial Conference
                                             previously set for December 3, 2020 is canceled and Oral Argument is scheduled for
         The Hon. Lewis J. Liman             January 20, 2021 at 12:00PM. The Court excludes time from November 9, 2020 to January
         United States District Court        20, 2021, under the Speedy Trial Act, 18 U.S.C. 3161(h)(7)(A) upon the finding that the
         Southern District of New York       interests of justice outweigh the interests of the public and the defendant in a speedy trial in
         500 Pearl Street                    that the time until January 20, 2021 is necessary for the parties to continue discussions with
                                             respect to a potential disposition and for the defendant to brief potential pretrial motions.
         New York, New York 10007
                                                                                                                   11/9/2020
                                                             Re: United States v. Paul Thompson
                                                             19 Cr. 056 (LJL)
         Dear Judge Liman:

                  I represent Defendant Paul Thompson in the above-referenced matter and write to
         respectfully request a 30-day extension of time to file pretrial motions in this case, as well as a
         similar extension of time for the Government to file its response and the defense to submit its reply,
         if any, at such time. Defendant also requests that oral argument on said motions, presently
         scheduled for December 3, 2020, at 9:00 a.m., be similarly adjourned to a date in January 2021
         that is convenient to the Court.

                 The instant application is being made because pretrial motions are currently due today, but
         discussions regarding a potential pretrial disposition remain active and the parties are in agreement
         that plea negotiations could be benefited by an adjournment of the filing of motions.

                According, Defendant Paul Thompson, by and through counsel, respectfully requests a 30-
         day extension of the pretrial filing deadlines in this case setting new deadlines as follows:

                            Pretrial Motions due: December 9, 2020
                            Response due: December 23, 2020
                            Reply (if any) due: December 30, 2020
                            Oral argument: TBD (at a time convenient to the Court)

                 I have spoken with Assistant United States Attorney David Robles and he has informed me
         that the Government has no objection to the instant application.

                   Thank you for your time and consideration.

                                                             Respectfully submitted,
                                                             /S/
                                                             Michael K. Bachrach
                                                             Attorney for Defendant Paul Thompson
         cc:       AUSA David Robles (by ECF)
